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                         EXHIBIT 4
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The comprehensive IOM publication                many adolescents do not deﬁne                   homosexual people are often referred
includes a section on childhood and              themselves as a member of a sexual              to as “gay” if male, and “lesbian” if
adolescence. This updated clinical re            minority group, assisting teens who             female.4 Many adolescents struggle
port provides deﬁnitions and the best            are men having sex with men (MSM)               with their sexual attractions and
information available about the de               and women having sex with women                 identity formation, and some may be
mographics of this group of adoles               (WSW) will also be discussed. Some of           referred to as “questioning.”2 Many
cents. Being a member of this group              the studies in this clinical report ref         individuals also resist deﬁnition; when
of teens is not, in itself, a risk be            erence self identiﬁed LGBTQ individu            reporting same gender sexual behav
havior; nor should sexual minority               als, and others reference only sexual           ior, these individuals are referred to
youth be considered abnormal. How                behavior (MSM and WSW). For this                as MSM or WSW.1
ever, the presence of stigma reﬂected            report, the term “sexual minority”              Gender identity and gender expression
in the terms “homophobia” and “het               includes LGBTQ and MSM/WSW indi                 usually conform to anatomic and
erosexism” often leads to psycho                 viduals.                                        chromosomal sex or “natal” sex for
logical distress, which may be                                                                   both homosexual and heterosexual
accompanied by an increase in risk               DEFINITIONS                                     teens. Gender identity is knowledge of
behaviors. “Homophobia” refers to an                                                             one’s self as being male or female,
                                                 Adolescence is characterized as
irrational fear and resulting hatred of          a time of rapid physical, emotional,            whereas gender expression is an
homosexual individuals. “Heterosex               and sexual change, during which                 outward expression of being male or
ism” is the societal expectation that            sexual discovery, exploration, and ex           female. For transgender individuals,
heterosexuality is the expected norm             perimentation are part of the process           their gender or identity does not
and that, somehow, LGBTQ individuals             of incorporating sexuality into one’s           match their natal sex. Gender non
are abnormal. Although limited, stud             own identity. Adolescents solidify their        conforming (or variant) refers to
ies on the resilience of sexual minor            gender identiﬁcation and expression             people who do not follow other peo
ity youth will be discussed. Studies             by observing the gender roles of their          ple’s ideas about how they should act
speciﬁcally focused on the disparities           parents and adults, siblings, peers,            according to gender roles. They may
in the health of these teens in mental           and others. Typically, a young person’s         or may not be distressed from the
health, substance abuse, and sexuality           sexual orientation emerges before or            nonconformity.5 Gender dysphoria
will be presented, along with new                early in adolescence.2,3 In the previous        refers to dislike or distress about
research about emerging effective in             American Academy of Pediatrics clin             one’s own gender and about the out
dividual and community health strat              ical report on sexual minority youth            ward manifestations of gender (eg,
egies for reducing risks. Finally,               published in June 2004, sexual ori              hair style, clothing, sports, toys).
issues in providing clinical care and            entation was referred to as “an in              Children often begin to express this
modifying patient care approaches                dividual’s pattern of physical and              dysphoria in the preschool period.
will be discussed.                               emotional arousal toward other per              Many young children with gender
Although most LGBTQ youth are quite              sons.” In strict deﬁnition, individuals         dysphoria will resolve their dysphoria
resilient and emerge from adoles                 who self identify as heterosexual are           by adolescence, but others will main
cence relatively unscathed, the health           attracted to people of the opposite             tain it. It is difﬁcult to predict, how
disparities of this vulnerable pop               gender; homosexual individuals self             ever, whether a young child with
ulation can be signiﬁcant and often              identify as attracted to people of the          gender dysphoria will be transgender
daunting for pediatricians or other              same gender; bisexual teens report              as a teenager or adult. Thus, it is best
health care providers who are                    attraction to people of both genders.4          to help families to manage this un
assisting youth in their care. For this          As noted in later sections, sexuality is        certainty and make it clear in the
report, the term LGBTQ will be used              much more complex than these clas               family that all options remain accept
whenever discussing studies and                  sic deﬁnitions. Most self identiﬁed             able and available as the child grows
recommendations for all lesbian, gay,            gay and lesbian individuals have had            up.2,6
bisexual, transgender youth. Some of             sex with the opposite gender, and               Transgender people may be het
the studies discussed did not include            some continue to do so. Many heter              erosexual, homosexual, or bisexual.7
questioning youth      for these, the            osexuals have had sex with the same             Transgender people are often also
term LGBT (lesbian, gay, bisexual, and           gender, yet self identify as heterosex          identiﬁed by the natal gender and
transgender) will be used. Because               ual.1 In common usage, self identiﬁed           transition to the desired gender; MTF


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is more insidious and damaging. Ho               opportunities for discussions with              bias and general limitations of self
mophobia refers to an irrational fear            their pediatricians or primary health           reported data limit accuracy. 32
and resulting hatred of homosexuality            care providers.28 The role of the pe            Although some adolescents are com
and homosexual individuals. Pervasive            diatrician is further described in the          fortable enough to reveal their sexuality
in our culture, homophobia is institu            section “Making the Ofﬁce Teen                  on these instruments, many may not
tionalized in stereotypes promoted in            Friendly for Sexual Minority Youth.”            trust that their information will truly be
the media and in casual conversa                 There may be several barriers for               protected. It may take some time for
tion.18 Heterosexism is the societal             pediatricians in working with LGBTQ             an adolescent to come to an under
expectation that heterosexuality is the          youth. Until recently, there was not a          standing of his/her sexual identity be
expected norm and that somehow                   focus on LGBTQ issues in medical ed             fore it is possible to label or describe it
LGBTQ teens are “abnormal.” Although             ucation. The Association of American            or discuss it with others. Some of the
it is often easy for the majority of             Medical Colleges has recently begun             best data about the number of gay or
sexual minority youth to hide their              to develop additional resources for             lesbian teenagers are state or city
sexuality from family and friends,               medical educators to use in imple               speciﬁc. Some states and communities
nondisclosure may ultimately be                  menting curricular reform on this               have added questions to the Centers for
damaging to adolescents’ developing              topic.29 The Joint Commission also              Disease Control and Prevention’s (CDC’s)
self image.19,20 Homophobia perceived            recently published a comprehensive              Youth Risk Behavior Surveillance (YRBS)
by LGBTQ youth may lead to self                  guidebook for hospital organizations.30         System: at the time of this writing,
destructive behaviors.21 Societal ho             Although conﬁdentiality is recom                Minnesota,33 Vermont,34 Massachu
mophobia is reﬂected in the higher               mended for all adolescents, there may           setts,35 and New York City36 have
rates of bullying and violence suffered          be inadvertent breaches related to              added these questions. More nation
by sexual minority youth.22 Many sex             electronic health record access and             ally representative data are found in the
uality education curricula taught in             insurers that send explanations of              few recent national studies available.
schools limit discussion to “‘abstinence         beneﬁt information to parents.                  In the 2006 2008 National Survey of
only’ until heterosexual marriage.” This         Parental and other adult reactions to           Family Growth, 13.4% of females and
expected standard may serve to fur               “coming out” vary, and often, adoles            4.0% of males 15 to 24 years of age
ther isolate and alienate many sexual            cents and their families will also need         self reported that they had sex with
minority youth and contributes to in             support from their pediatrician dur             someone of the same gender.37 This
creased risks of personal violence,              ing this process. Parents play a criti          number is much larger than those
mental health issues, substance abuse,           cal role in support of development for          who would describe themselves as
and risky sexual behaviors.19,23 25              their sexual minority children. The             gay, lesbian, or bisexual. Among par
With proper support and guidance, the            IOM report noted that “parental sup             ticipants in the Growing Up Today
majority of LGBTQ youth emerge as                port either partially or fully mediated         Study, a US community based longitu
adults with sexual identities that are           associations related to suicidal                dinal cohort study in 9039 female and
associated with little or no signiﬁcant          thoughts, recent drug use, and de               7843 male children recruited at 9 to
increase in risk behaviors compared              pressive symptomatology.”1 Negative             14 years of age whose mothers were
with other youth. These resilient young          parental reactions were also associ             participating in the Nurses’ Health
adults lead happy, productive lives.26           ated with higher rates of risk behav            Study II, 16.3% of females and 8.7% of
Pediatricians have a role in helping             iors.1,31 Parent support organizations,         males reported a sexual orientation
teenagers sort through their feelings            such as Parents, Families and Friends           other than heterosexual.38 In wave 1
and behaviors. Young people need in              of Lesbians and Gays (www.pﬂag.org),            of the National Longitudinal Study of
                                                 can provide essential resources for
formation about healthy, positive                                                                Adolescent Health administered to
                                                 parents.
expressions of sexuality, and pedia                                                              students in grades 7 through 12, same
tricians should assist adolescents as                                                            gender relationships or attractions were
they develop their identities and to             NATIONAL STATISTICS                             reported in 7% of girls and 8.4% of
avoid the consequences of unwanted               There are inherent difﬁculties in               boys.39 Recently, the CDC combined
pregnancy and sexually transmitted               obtaining accurate data about sexual            data from several YRBS survey admin
infections (STIs), regardless of sex             minority youth. Virtually all of the            istrations studying behaviors among
ual orientation.27 Research suggests             available information is self report            9th through 12th grade sexual minority
that LGBTQ youth really value these              data on survey instruments; sample              youth in the states that inquired about


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repercussions, especially victimiza               tolerance for homophobic teasing,               Substance Abuse
tion.1,4,22,23,25 Even if not open about          bullying, or abuse, were recently shown         With the psychosocial and anxiety
sexuality, 16% of MSM reported expe               to be protective, with signiﬁcantly lower       provoking stressors of homophobia
riencing violence. Sometimes it is                rates of depression and suicidality for         and heterosexism, the enticement and
simply the perception that an in                  sexual minority youth.25 Supporting the         escape of getting high may be addic
dividual might be LGBT that may lead              development of policies in school dis           tive and can lead to increasing use of
to bullying, harassment, and violence.52          tricts that limit teasing and bullying is       substances. The pooled YRBS study
LGBTQ and MSM individuals report that             an important role of the pediatrician.          combining 2001 2009 data revealed
the violence directed toward them is              The US Department of Health and Hu              signiﬁcantly higher rates of current
because of perceived sexual orienta               man Services recently has increased             alcohol use in the past 30 days in self
tion or femininity.53 When sexual mi              antibullying efforts, and among other           identiﬁed sexual minority youth (bi
nority youth are victimized, the physical         initiatives, has launched a new Web
                                                                                                  sexual, 55.6%; gay/lesbian, 47.5%;
assault may lead to death (homicide).             site, http //www.StopBullying.gov, which
                                                                                                  questioning, 35.1%; and heterosexual,
Victimized LGBTQ, MSM, and WSW youth              includes a speciﬁc section for sexual
                                                                                                  37.6%).For current use of marijuana,
may experience increased mental                   minority youth.57
                                                                                                  the rates were 36.8% among bisexual
health disorders including depression,            Unfortunately, schools are not the only         youth, 34.5% among gay/lesbian youth,
sometimes leading to death by suicide.            source of homophobic/heterosexist               25.4% among questioning youth, and
There is a strong association between             bullying. Although less research has            21.8% among heterosexual youth. More
victimization and suicidality among               focused on nonschool settings, LGBT             striking differences were observed
sexual minority adolescents recruited             youth experience victimization in their         among youth for the following: (1) cur
from gay youth community or university            homes, communities, and other insti             rent cocaine use (gay/lesbian, 16.6%;
based organizations.54                            tutions.1 Even after the repeal of the          bisexual, 11%; questioning, 11.4%; and
Bullying at school with resultant ado             “Don’t ask, don’t tell” policy, there           heterosexual, 1.8%), (2) ever having
lescent suicide has received increased            continues to be victimization in the            used ecstasy (gay/lesbian, 22.9%; bi
national attention.55 Of adolescents              military.58Although many churches are           sexual, 20.4%; questioning, 11.4%; and
who are open about their LGBTQ sex                offering education to their members             heterosexual, 4.6%), (3) ever having
ual orientation, 84% reported verbal              about the issue of bullying in general,         used heroin (gay/lesbian, 17.7%; bi
harassment; 30% reported being                    some churches continue to bully sex             sexual, 9.6%; questioning, 13%; and
punched, kicked, or injured; and 28%              ual minority youth.59 “Cyberbullying,”          heterosexual, 1.8%), and (4) ever having
dropped out of school because of ha               or bullying with electronic means (eg,          used methamphetamine (gay/lesbian,
rassment. The Consortium of Higher                Internet, texting), is rampant; 32% of
                                                                                                  21.5%; bisexual, 14.9%; questioning,
Education LGBT Resource Professions               all teens say they have been targeted
                                                                                                  13.2%; and heterosexual, 3.4%).22 Be
published a press release in October              in some form.60 In 1 study, 52% of
                                                                                                  cause this study combined the data
2010 documenting the violence, inju               LGBT adolescents noted they had been
                                                                                                  for MSM and WSW and included in
ries, and in some cases, deaths of LGBTQ          cyberbullied in the past 30 days.61
                                                                                                  formation only from the 7 states and
adolescents.56 The study of pooled CDC            Eating Disorders                                6 school districts that volunteered
data from the 2001 2009 admin                     Although 10% to 15% of all cases of             to ask more sexuality questions, the
istrations of the YRBS survey to examine          eating disorders are in men, as many            data may not be as nationally rep
risk behaviors faced by sexual minority           as 42% of young men affected may be             resentative. Tobacco use is also over
youth included questions on being vic             gay or bisexual.62 Male sexual minority         represented among gay and lesbian
tims of threats or violence. In the 9             youth demonstrated more binge eat               youth.1,66 69 Research into best practices
communities that included relevant                ing and purging than did male het               to prevent and reduce tobacco use in
questions, sexual minority youth were             erosexual youth.63,64 The IOM report            sexual minority youth is underway.70 72
more likely than heterosexual youth to            acknowledged these ﬁndings but noted            The Young Men’s Survey, from 1994 to
be in a physical ﬁght, to be injured in           that they were from small studies and           1998, was the ﬁrst study that was
a ﬁght, to be threatened on school                that additional research is necessary.1         considered to have a nationally rep
grounds, and to stay home from school             There also may be an association with           resentative sample of substance using
because of perceived risk of violence.22          eating disorders in transgender MTF             young MSM. The sample was from 7
Positive, supportive school environ               individuals, but more research is nec           major cities, with young men 15 to 22
ments, those with zero or at least low            essary.65                                       years of age. The primary objective


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reported that they had had an STI, but           abuse issues for transgender youth              in the study were associated with more
2% of women who exclusively had sex              are lacking. Like other sexual minority         lifetime partners, having engaged in
with women also reported that they               youth, self identifying as transgender          commercial sex, unemployment, and
had had an STI.84                                does not necessarily indicate the ex            injection drug use.93 An HIV risk study
LGBTQ youth are less likely to report            istence of other mental health issues.91        examined 51 transgender MTF ethnic
use of hormonal or barrier contra                However, challenges faced by such               minority adolescents and young adults
ceptives at last sexual encounter when           youth and the potential of family and           16 to 25 years of age in Chicago and
having sex with the opposite gender.             societal disapproval may increase the           found that 22% were HIV positive.
Young women who identiﬁed them                   risk that transgender adolescents               Contributing factors included history
selves as “unsure” of their sexual               will experience mental health issues,           of incarceration (37%), homelessness
orientation were half as likely to re            substance abuse, and sexual risk                (18%), exchanging sex for resources
port using contraception at last in              taking behaviors.1 Family rejection,            (59%), nonconsensual sex (52%), and
tercourse.42 Given the high rates of             peer rejection, harassment, trauma,             difﬁculty accessing health care (41%).
earlier sexual initiation, a greater             abuse, legal problems, educational              Among HIV positive MTF transgender
number of partners, and less contra              problems, and resulting poverty and             individuals, 98% reported having had
ceptive use, WSW are at higher risk of           homelessness are faced by trans                 sex with men, including unprotected
teen pregnancy than are teens who                gender youth and adults. Transgender            receptive anal intercourse (49%). The
only have sex with the opposite gen              people face alarmingly high rates of            study also noted that 53% had had sex
der. In the 1999 Minnesota Adolescent            verbal harassment and physical vio              while under the inﬂuence of drugs or
Health Survey, lesbian and bisexual              lence, including at home and at school.1        alcohol and 8% had used injection
women, when compared with hetero                 Transgender youth face signiﬁcant               drugs. Twenty nine percent had injec
sexual youth, were found to be about             mental health issues as a consequence,          ted liquid silicone (as part of their
as likely to have had vaginal in                 including depression and suicidality,           MTF transition) in their lifetime; 8%
tercourse (33% vs 29%) but had twice             anxiety, body image distortion, sub             had shared needles for hormone or
the rate of pregnancy (12% vs 6%)                stance abuse, and post traumatic stress         silicone injection, increasing HIV trans
and were more likely to have had ≥2              disorder. As with all teens, supportive
                                                                                                 mission risk. For transgender individu
pregnancies (23.5% vs. 9.8%). In a small                                                         als who purchase or obtain transgenic
                                                 families can buffer an adolescent from
study in 137 young women having sex                                                              hormones (estrogen or testosterone)
                                                 these negative outcomes and promote
with women (ages 16 to 24 years), 20%                                                            on the street or from the Internet, there
                                                 positive health and well being.10
reported having had been pregnant.1                                                              may be signiﬁcant health problems if
                                                 MTF transgender youth face even more            used improperly, even if they are pure.94
WSW and MSM report high rates of                 sexual health disparities than other
physical and sexual abuse.85,86 In 1             sexual minority youth, with very high
study, the rate was 19% to 22%.87 Con            rates of HIV and other STIs. One study          THE RESILIENCE OF LGBTQ YOUTH
sequences for sexual minority youth              by the Department of Public Health in           Even with the unique challenges faced
who have experienced physical or sex             San Francisco revealed that HIV prev            by sexual minority youth, the majority
ual abuse include higher rates of in             alence among MTF transgender indi               grow up healthy and lead happy,
timate partner violence as adults,86             viduals was 38% (the rate for FTM               productive lives. Research is now be
frequent drug use and higher risk sex,88         transgender individuals was much                ginning to analyze the patterns of
and higher rates of HIV.89 Homeless              lower, at 2%). Risk factors for HIV in          resilience in LGBTQ youth. A qualitative
sexual minority youth are more likely to         fection among MTF transgender indi              study in gay male youth 16 to 22 years
report histories of physical and sexual          viduals in this study included African          of age noted that “general develop
abuse and report engaging in risky
                                                 American race, attaining low education          mental dysfunction is not inevitable
sexual behaviors as survival strate
                                                 status, having a history of injection           for gay adolescents, nor is identiﬁable
gies.48 Childhood sexual abuse does not
                                                 drug use, and reporting multiple sexual         personal or family pathology directly
cause children to become LGBTQ.90
                                                 partners.92 Another study addressing            related to sexual identity.”95 Similar to
                                                 racial disparity in MTF transgender in          other studies in adolescents, another
Health Disparities for Transgender               dividuals in New York revealed higher           study found that family connectedness,
Youth                                            rates of STIs and HIV in African Amer           school connectedness, and religious
National data detailing the scope of             ican and Hispanic, compared with                involvement were protective factors,
medical, mental health, and substance            white, individuals. The higher STI rates        leading to fewer risk behaviors.26


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behaviors. Teens who are abstinent                TABLE 2 Using Gender Neutral Terms in the Psychosocial History
should have their abstinence acknowl                           Heterosexist Question                                    Instead Ask
edged and reinforced as a preferred               “Do you have a girlfriend?”                          “Are you dating anybody?”
method of prevention for both STIs                                                                     “Are you involved any romantic relationship?”
                                                  “What do you and your boyfriend do together?”        “What do the 2 of you do together?”
and unwanted pregnancies.27 If the
                                                                                                       “Tell me about your partner.”
adolescent notes that he or she has               “Are you and your girlfriend sexually active?”       “Are you having sex?”
engaged in sexual activity, 1 classic                                                                  “Are the 2 of you in a sexual relationship?”
question is “Are you having sex with
males, females, or both?” For adoles              Sexual practices are not dissimilar              TABLE 3 Sexual History Questions About
cents who are not yet sexually active,            for heterosexual and lesbian, gay, or                      Sexual Behaviors
inquiring “Are you attracted to males,            bisexual or MSM/WSW teens. Many                  • Have you ever had sex? What have you done
females, or both” will allow for dis              heterosexual youth engage in oral in               sexually with a partner?
cussions to prevent sexual risk                   tercourse, and some engage in anal               • Have you ever had oral sex? Has a partner ever
behaviors. If the pediatrician gets an                                                               “gone down” on you or have you ever “gone
                                                  intercourse.106 Table 3 offers some                down” on a partner?
unusual response from the adoles                  suggestions for asking about speciﬁc             • Have you ever had vaginal sex? Have you ever
cent, a bridging statement such as                sexual behaviors.                                  engaged in penile vaginal sex?
“Many teenagers your age have sex                                                                  • Have you ever had anal sex? Did you put your
                                                  Once sexual history is obtained, in                penis in your partner’s anus or did your partner
with members of the opposite or the
                                                  the context of the remainder of the                put his penis in your anus?
same sex” can facilitate communica                                                                 • If there was any insertive or receptive sex: Do
                                                  psychosocial history, then speciﬁc
tion.101 It may be difﬁcult for some                                                                 you use condoms? What percentage of the time?
                                                  health promotion activities can be en              What about last time?
teenagers to answer these questions
                                                  couraged. Use of substances, de                  • If there was any oral genital contact: Do you use
if they have not yet established trust                                                               dental dam or another barrier? What
                                                  pression, and other mental health
in the pediatrician. Previous negative                                                               percentage of the time? What about last time?
                                                  disorders place youth at higher sexual
experiences in health care or in
                                                  risk because of lack of ability to make
ternalized shame as a result of soci
                                                  good decisions regarding use of con              make decisions about STI testing on
etal homophobia/heterosexism may
                                                  doms or contraception, and these                 the basis of the sexual behaviors
cause some teenagers to not disclose
                                                  issues should be addressed.107 Using             identiﬁed by the sexual history.110
their sexual orientation or same
                                                  a strength and asset based approach              Similar to other populations of ado
gender sexual activity. Sexual minor
                                                  and encouraging positive youth de                lescents, if adolescents are having
ity adolescents also may not trust that
                                                  velopment is an effective way to re              protected intercourse (monogamous
their conﬁdential information will
                                                  duce risks in all teenagers, including           relationship, using condoms 100% of
truly be kept conﬁdential from their
                                                  sexual minority youth.27,108 Frankowski          the time and correctly, and no sub
parents/guardians or others. It has
                                                  et al’s109 “Strength Based Interviewing”         stance abuse involved), it is reason
been shown that it is easier for some
                                                  is a method that can be applied to all           able to test them once per year.
teens to reveal sensitive information
                                                  adolescents and young adults.                    However, adolescents with multiple or
(eg, sexual behavior and sexual ori
entation) before face to face visits              Pediatricians also may assist sexual             anonymous partners, having unpro
with the pediatrician.104 The most                minority youth in coming out to their            tected intercourse, or having sub
comfortable method is on a com                    parents/families on the patient’s own            stance abuse issues or any other risk
puter, and the next best is on a pa               terms and timetable. This includes               factors should be tested at shorter
per questionnaire.105 Once a teen                 offering supportive suggestions and              intervals.110 Condoms should be pro
has acknowledged on a previsit form               counseling and providing resources to            moted for all sexual activities that
that he or she has a question about               assist the patient and family.42                 involve insertive or receptive inter
sexual activity or sexual identity, it is                                                          course. STI screening recommen
the responsibility of the pediatrician            STI/HIV Testing and Prevention                   dations for MSM are described in
to introduce a conversation during                Recommendations for Sexual                       Table 4.
the subsequent interview. Often,                  Minority Youth                                   A growing number of experts recom
sexuality is disclosed at a future                Recent guidelines from the CDC rec               mend testing for HSV (by serology) if
visit after the pediatrician has built            ommend assessing for STI risk, which             infection status is unknown. Because
a trusting relationship with the                  includes asking about the gender of all          of the increased incidence of anal
patient.                                          partners. Pediatricians should then              cancer in HIV infected MSM, screening


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Care, which was updated in 2011.5                changes of puberty (conﬁrmed by                 an androgen inhibitor, such as
These documents integrate the best               pubertal levels of estradiol and tes            spironolactone. 10,11,118
available evidence with clinical expe            tosterone, respectively) but no earlier         Adolescents undergoing partially re
rience from experts in the ﬁeld of               than Tanner stages 2 3.” Suppression            versible cross gender hormone ther
assisting transgender patients with              is similar to the treatment of pre              apy should be monitored for progress
transition. The guidelines were fur              cocious puberty. In general, it is rec          in transition and for any potential
ther reﬁned by Olson et al10 in a sub            ommended that transgender adolescents           medical complications. MTF patients
sequent publication on the basis of              be maintained on suppressive GnRH               started on estrogen might develop
clinical experiences with a large                analogs until they are emotionally and          deep venous thrombosis, prolactino
number of transgender patients in Los            cognitively ready for cross gender sex          mas, hypertension, liver disease, and
Angeles. These publications discuss              hormones.10,11 The rationale for using          decreased libido and are at increased
the importance of psychological treat            GnRH analogs early (at sexual matu              risk of breast cancer. Spironolactone
ment approaches. The mental health               rity rating 2) and then waiting to be           can lead to hyperkalemia and de
professional is called on to accurately          gin hormonal therapy is so that MTF             creased blood pressure. FTM patients
diagnose gender dysphoria and any                adolescents experience desired out              receiving testosterone may develop
comorbid conditions, to counsel about            comes. However, as noted from 1                 hyperlipidemia, polycythemia, male pat
the range of treatment options, to as            large center treating transgender               tern baldness, acne, and other signiﬁ
certain readiness for hormone and                youth, they commonly present at older           cant side effects.10,11
surgical therapy, to make formal rec             ages with pubertal development too              Irreversible therapy occurs during the
ommendations to medical and surgical             far advanced for suppressive therapy.           surgical phase, with many different
colleagues as part of the team of care,          The average age of presentation at              procedures now available to create a
to educate the patient and family, and           this center was 14.8 years, with an             more masculine or feminine appear
to provide follow up. The skilled thera          average sexual maturity rating of               ance. The Endocrine Society guidelines
pist will use afﬁrming strategies:               4.1.118 Waiting too long may result in          and the World Professional Association
afﬁrming the adolescent’s sense of self,         male voice pitch, laryngeal prom                for Transgender Health’s Standards of
allowing for exploration of gender and           inences, and facial hair pattern, which         Care recommend deferring surgery
self deﬁnition, and conveying the mes            precludes the option of pubertal sup            until an individual is at least 18 years
sage that it is “entirely acceptable to          pressive therapy.10,11,118                      of age.5,11
be whoever you turn out to be.” It is            The partially reversible treatment phase        There are many barriers to trans
recommended that all transgender                 involves the use of cross gender hor            gender adolescents receiving desired
adolescents be involved in psychological         mone therapies. The Endocrine Society           medical therapies. It is difﬁcult for
therapy, even those who are functioning          guidelines state that “pubertal de              transgender youth and their families
well, to ensure that they have the nec           velopment of the desired opposite               to ﬁnd comprehensive medical and
essary support they need and a safe              gender be initiated at about the age of         mental health services. Pediatricians
place to explore identities and consider         16 years, using a gradually increasing          may not feel comfortable or knowl
the transitioning experience.5,10,11             dose schedule of cross sex steroids.”11         edgeable enough to assist transition
Classiﬁcations for the process of                Olson’s group follows these guidelines          plans in transgender youth, in which
gender transition include reversible,            but may choose to provide therapy               case they should refer to another
partially reversible, and irreversible           earlier after careful review of the risks       physician with experience or expertise
phases. Reversible transition includes           and beneﬁts with the youth and                  around gender nonconformity. Most
the adoption of outward gender ex                parents.10 It is recommended that cross         insurance companies do not pay for
pression: wearing preferred clothing,            gender hormone therapy begin after              this care, and the use of GnRH analogs
adopting preferred hairstyles, and               assessment of readiness by a medical            is quite expensive. Medical treatments
perhaps acquiring a new name. The                professional, including a careful re            are neither standardized nor approved
use of gonadatropin releasing hor                view of any hormone contraindications,          by the Food and Drug Administration,
mone (GnRH) analogs is also part of              and by the mental health professional           although they are increasingly sup
the reversible stage. The Endocrine              who documents psychological readi               ported by medical literature.11 Consent
Society guidelines state, “suppression           ness. For FTM patients, testosterone is         is another obstacle, and only Illinois’
of pubertal hormones starts when                 used. For MTF patients, estrogen is             and West Virginia’s state statutes can
girls and boys ﬁrst exhibit physical             used, sometimes in combination with             be interpreted favorably for transgender


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Referrals for mental health and sub                  LEAD AUTHOR                                           LIAISONS
stance abuse treatment may be war                    David A. Levine, MD                                   Loretta E. Gavin, PhD, MPH Centers for Disease
                                                                                                           Control and Prevention
ranted. Pediatricians have an obligation
                                                                                                           Rachel J. Miller, MD      American College of
to ensure that sexual minority youth                                                                       Obstetricians and Gynecologists
                                                     COMMITTEE ON ADOLESCENCE,
have access to a full range of appro                 2012–2013                                             Jorge L. Pinzon, MD Canadian Pediatric So
priate health care services. As with all                                                                   ciety
                                                     Paula K. Braverman, MD, Chairperson
                                                                                                           Benjamin Shain, MD, PhD American Academy
adolescents and young adults, sexual                 William P. Adelman, MD
                                                                                                           of Child and Adolescent Psychiatry
minority youth need honest answers                   Cora C. Breuner, MD, MPH
                                                     David A. Levine, MD
and compassion in dealing with issues                                                                      STAFF
                                                     Arik V. Marcell, MD, MPH
and questions around sexual orienta                  Pamela J. Murray, MD, MPH                             Karen S. Smith
tion, identity, and sexual behaviors.                Rebecca F. O’Brien, MD, MD                            James Baumberger




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                                           Youth
                 David A. Levine and the COMMITTEE ON ADOLESCENCE
                                  Pediatrics 2013;132;e297
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